               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                           SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                         Plaintiff,       )
                                          )
        vs.                               )
                                          )       No. 15-05047-01-CR-SW-BP
                                          )
MARKLEE BOGART,                           )
                                          )
                         Defendant.       )

                         REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Counts One and Three and admitted to the

Forfeiture Allegation contained in the Indictment filed on December

9, 2015.      After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined

that the guilty pleas were knowledgeable and voluntary, and that the

offenses charged are supported by a factual basis for each of the

essential elements of the offenses.           I therefore recommend that the

pleas of guilty be accepted and that the Defendant be adjudged guilty

and have sentence imposed accordingly.



Date:     August 1, 2016                   /s/ David P. Rush
                                          DAVID P. RUSH
                                          UNITED STATES MAGISTRATE JUDGE




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                                  NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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